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               IN THE UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF ALABAMA
                        NORTHERN DIVISION

BRIANNA BOE et al.,                 )
                                    )
             Plaintiffs,            )
                                    )
and                                 )
                                    )
UNITED STATES OF AMERICA,           )
                                    )
             Plaintiff-Intervenor,  )
                                    )
v.                                  ) No. 2:22-cv-00184-LCB-CWB
                                    ) Hon. Liles C. Burke
STEVE MARSHALL, in his official )
capacity as Attorney General of the )
State of Alabama, et al.,           )
                                    )
             Defendants.            )

DEFENDANTS’ NOTICE OF EVIDENTIARY SUBMISSION IN SUPPORT
                OF SUMMARY JUDGMENT

      Defendants submit the following exhibits in support of their motion for

summary judgment. As explained in Defendants’ Motion for Leave to File Under

Seal Unredacted Motion for Summary Judgment and Brief and Evidentiary

Submissions in Support (Doc. 556), some of these exhibits—designated in the below

list—are being submitted to the Court under seal, at least provisionally.
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Dated: May 27, 2024                      Respectfully submitted,

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                        CERTIFICATE OF SERVICE

      I certify that I electronically filed this document using the Court’s CM/ECF

system on May 27, 2024, which will serve all counsel of record.

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